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                                  UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA

Case No: 3:22-cr-00426-JSC-1
Case Name: United States of America v David Wayne Depape

                               TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                           COUNSEL FOR USA:                        COUNSEL FOR DEFENDANT:
 Jacqueline Scott Corley          Helen Gilbert/Laura Vartain             Angela Chuang/Jodi Linker
 TRIAL DATE:                      COURT REPORTER:                         CLERK:
 November 14, 2023 (Day 4)        Ruth Ekhaus                             Ada Means

 GOVT.    DEFT.   DATE/TIME
 NO.      NO.     OFFERED         ID    REC     DESCRIPTION
                  8:17 a.m.                     Court reconvenes, all parties present. Outside the presence of
                                                the jury, Court and counsel confer re: witnesses.
                  8:20 a.m.                     Court stands in recess to await the jury’s arrival.
                  8:26 a.m.                     Court reconvenes, all parties and the jury are present.
                  8:29 a.m.                     MICHAEL HUANG is sworn as a witness for the
                                                government and is under direct examination by Ms. Gilbert.
                  8:48 a.m.                     Michael Huang under cross examination by Ms. Linker.
                  8:50 a.m.                     Michael Huang is excused. The government rests. The jury is
                                                in recess.
                  8:51 a.m.                     Outside the presence of the jury, Court hears argument on
                                                Defendant’s Rule 29 motion. The motion is denied.
                  8:57 a.m.                     Court called for a brief recess.
                  9:08 a.m.                     Court reconvenes, all parties and the jury are present. DAVID
                                                DEPAPE is sworn as a witness for defense and is under direct
                                                examination by Ms. Chuang.
                  10:23 a.m.                    The Court called for a brief recess.
                  10:36 a.m.                    Court reconvenes, all parties and the jury are present. David
                                                Depape resumes the witness stand and is under cross
                                                examination by Ms. Vartain.
                  11:01 a.m.                    David Depappe is excused. TARGET NO. 1 is sworn as a
                                                witness for defense and is under direct examination by Ms.
                                                Linker.
                  11:31 a.m.                    Target No. 1 is excused. ELIZABETH YATES is sworn as a
                                                witness for defense and is under direct examination by Ms.
                                                Chuang.
                  11:42 a.m.                    Elizabeth Yates is excused. DANIEL BERNAL is sworn as a
                                                witness for defense and is under direct examination by Ms.
                                                Linker.
          595     12:09 p.m.      X      X      Pelosi’s website
                  12:23 p.m.                    Daniel Bernal under cross examination by Ms. Vartain.
                  12:30 p.m.                    Daniel Bernal under re-direct examination by Ms. Linker.
                  12:31 p.m.                    Daniel Bernal is excused. Defense rests. The jury is
                                                admonished and excused for the day.
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  12:32 p.m.             Outside the present of the jury, Court and counsel confer re:
                         trial schedule.
  2:34 p.m.              Court reconvenes, all parties present. Outside the presence of
                         the jury, Court and counsel confer re: jury instructions and
                         verdict form.
  3:22 p.m.              Court called for a brief recess.
  3:26 p.m.              Court reconvenes with all parties present. Outside the
                         presence of the jury, Court and counsel continues to confer re:
                         jury instructions and verdict form.
  3:34 p.m.              Court is adjourned for the day. The matter is continued to
                         November 15, 2023 for further jury trial.




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